Case 1:99-cv-02496-PLF-MAU Document 3165-7 Filed 05/04/04 Page 1 of 6

-. UNITED. STATES OF AMERICA

FEDERAL TRADE COMMISSION

BUREAU OF WASHINGTON, D.C. 20580
CONSUMEA PROTECTION

May 10, 1993

BY MESSENGER

Judith L. Oldham, Esquire
Collier, Shannon, Rili & Scott
3050 K Street, N.W.

Suite 400

Washington, D.C. 20007

Re: R.J. Reynolds Tobacco Company

Dear Judy:

Per our conversation this morning, I am enclosing a copy of
the staff's draft of a complaint and order. These new documents
supersede the draft complaint and consent agreement that I
provided you during our April 9, 1993 meeting. I must stress
that these are drafts and are subject to change.

I also want to take this opportunity to reiterate that the
staff is ready to meet with the company to discuss our
recommendation to the Commission.

Sincerely,

“Judith P. Wilkenfeld
Assistant Director
Division of Advertising Practices

DEPOSITION
EXHIBIT

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Case 1:99-cv-02496-PLF-MAU Document 3165-7 Filed 05/04/04 Page 2 of 6

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UNITED STATES OF AMERICA

BEFORE FEDERAL TRADE COMMISSION

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In the Matter of

R.J. REYNOLDS TOBACCO COMPANY,
a corporation.

DOCKET NO.

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COMPLAINT

The Federal Trade Commission, having reason to believe
that R.J. Reynolds Tobacco Company, a corporation
("respondent"), has violated the provisions of the Federal
Trade Commission Act, and it appearing to the Commission that a
proceeding by it in respect thereof would be in the public
interest, alleges:

PARAGRAPH ONE: Respondent R.J. Reynolds Tobacco Company
is a New Jersey corporation, with its office and principal
place of business located at 401 North Main Street, P.O.B. 2959
Winston-Salem, North Carolina 27102.

PARAGRAPH TWO: Respondent has advertised, promoted,
offered for sale, sold, and distributed cigarettes and other
tobacco products.

PARAGRAPH THREE: The acts or practices of respondent
alleged in this complaint have been in or affecting commerce,
as "commerce" is defined in Section 4 of the Federal Trade
Commission Act.

PARAGRAPH FOUR: Beginning in at least 1988, respondent
has disseminated or has caused to be disseminaced
advertisements and promotions for its Camel brand cigarettes,
including, but not necessarily limited to, the attached
Exhibits A through E. The ads and promotions have as their
central theme a cartoon camel sometimes referred to as "Old
Joe" "Smooth Character" or as "Joe Camel" (hereinafter "Joe
Camel"), and other similar cartoon characters.
Case 1:99-cv-02496-PLF-MAU Document 3165-7 Filed 05/04/04 Page 3 of 6

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PARAGRAPH FIVE: R.J. Reynolds claims to have designed its
advertising and promotional campaign utilizing Joe Camel with a
target audience described as "young adult smokers" over the age
of 18. Because of the themes and techniques that it used in
its Joe Camel campaign, R.J. Reynolds knew or should have known
that its advertising and promotional campaign would have arpeal
to children and adolescents below the age of 18, as well as to
its target audience.

PARAGRAPH SIX: R.J. Reynolds’ Joe Camel advertising and
promotional campaign for Camel cigarettes did appeal to
children and adolescents below the age of 18, with the result
that many of those children and adolescents did begin to smoke
Camel cigarettes. Since the initiation of the Joe Camel
advertising and promotional campaign in 1988, the percentage of
smokers under the age of 18 who smoke Camel cigarettes has
become larger than the percentage of all adult smokers 18 and
Older, including the percentage of young adult smokers over the
age of 18, who smoke those cigarettes.

PARAGRAPH SEVEN: Cigarette smoking causes a number of
adverse health effects including, but not limited to, coronary
heart disease, lung and laryngeal cancer, oral cancer,
esophageal cancer, chronic obstructive pulmonary disease, and
low-birth-weight babies. Some, but not all, of these risks are
known by the general population, including children and
adolescents.

PARAGRAPH EIGHT: People who begin to smoke as children or
adolescents are more likely to develop severe levels of
nicotine addiction than those who start to smoke at a later
age. Children and adolescents wno smoke daily can become
addicted to nicotine. Some children and adolescents do not
adequately comprehend the extent and consequences of the
addictiveness of cigarettes.

PARAGRAPH NINE: Respondent‘’s actions, as set forth in
PARAGRAPHS FOUR, FIVE AND SIX, have caused substantial and
ongoing injury to these consumers that is not outweighed by any
countervailing benefits to consumers or competition and is not
reasonably avoidable by these consumers.

PARAGRAPH TEN: The acts and practices of respondent as
alleged in this complaint constitute unfair acts or practices
in or affecting commerce in viclation of Section S(a) of the
Federal Trade Commission Act.
Case 1:99-cv-02496-PLF-MAU Document 3165-7 Filed 05/04/04 Page 4 of 6

ORDER

For the purposes of this Order:

i. "Advertising to children“ shall mean any advertising or
promotion that: (i) either appears in magazines,
publications or in other media or in any promotional forms
directed to children and adolescents under 18 years of age
or, in light of its subject matter, visual content, young
models or cartoon characters, language, character or tone,
respondent knows or should know will appeal
disproportionately to children and adolescents under 18
years of age; and (2) results in disproportionate sales to
children and adolescents under the age of 18.

2. "Disproportionate sales" shall mean that a greater
percentage of smokers (as measured by share of smokers)
under 18 years of age purchase cr smoke the cigarettes
brand than do all adult smokers age 18 and over (as
measured by share of smokers) during any calendar quarter,
with the first quarter beginning January 1 of each year.

I.

IT IS ORDERED that respondent, R.J. Reynolds Tobacco
Company, a corporation, its successors and assigns, and its
officers, agents, representatives and employees, directly or
through any corporation, subsidiary, division or other device,
in connection with the manufacturing, Labelling, advertising,
promotion, offering for sale, sale or distribution of Camel
cigarettes in or affecting commerce, as "commerce" is defined
in the Federal Trade Commission Act, do forthwith cease and
desist from advertising its Camel brand cigarettes through the
use of the images or themes relating or referring to Old Joe,
Smocth Character or Joe Camel and/or any companion figure or
illustration associated with, used in conjunction with or
resembling the Joe Camel figure.

If.

IT IS FURTHER ORDERED that respondent, R.J. Reynolds
Tobacco Company, a corporation, its successors and assigns, and
its officers, agents, representatives and employees, directly
or through any corporation, subsidiary, division or other
device, in connection with the manufacturing, labelling,
advertising, promotion, offering for sale, sale or distribution
of cigarettes in or affecting commerce, as "commerce" is
Gefined in the Federal Trade Commission Act, do forthwith cease
Case 1:99-cv-02496-PLF-MAU Document 3165-7 Filed 05/04/04 Page 5 of 6

and desist from advertising to children any brand of
cigarettes.

IIl.

IT IS FURTHER ORDERED that respondent, or its successors
and assigns, shall collect, maintain and make available to the
Federal Trade Commission for inspection and copying competent
and reliable data for each brand of its cigarettes compiled at
no less frequency than monthly, consisting of:

{a} the number of cigarettes (or packages of
cigarettes} sold to alli persons under the age of
18;

(6) the share of smokers under the age of 18 for
each brand of cigarettes, by one year age
categories (@.g., 11, 12,....17}); and

(c} the total share of smokers of each brand of
cigarettes under the age of 18.

Iv.

IT IS FURTHER ORDERED that, for a period of ten (10) years
from the date of entry of this Order, respondent R.J. Reynolds
Tobacco Company shall notify the Commission at least thirty
(30) days prior to any proposed change in its corporate
structure, including but not limited to dissolution, assignment
or sale resulting in the emergence of a successor corporation,
the creation or dissolution of subsidiaries or affiliates, or
any other corporate change that may affect compliance
obligations arising out of this Order.

Vv.

IT 1S FURTHER ORDERED that respondent R.J. Reynolds
Tobacco Company shall:

A. Within thirty (30) days of service of this Order,
provide a copy of this Order to each of its current
principals, officers, directors and managers, and to
all personnel, agents, and representatives having
sales, advertising, or policy responsibility with
respect to the subject matter of this Order; and

B. For a period of five (5) years from the date of entry
of this Order, provide a copy of this Order to each
of its principals, officers, directors, and managers,
and to all personnel, agents, and representatives

6
Case 1:99-cv-02496-PLF-MAU Document 3165-7 Filed 05/04/04 Page 6 of 6

having sales, advertising, or policy responsibility

with respect to the subject matter of this Order who
are associated with it or any subsidiary, successor,
or assign, within three (3) business days after the

person assumes his or her position.

VI.

IT IS FURTHER ORDERED that respondent R.J. Reynolds
Tobacco Company shall, within sixty (60) days after service of
this Order, and at such other times as the Federal Trade
Commission may require, file with the Commission a report, in
writing, setting forth in detail the manner and form in which
it has complied with this Order.

IN WITNESS WHEREOF, the Federal Trade Commission has
caused this complaint to be signed by its Secretary and its
official seal to be hereto affixed at Washington, D.C. this

day of , A.D., 19

By the Commission.

Donald S. Clark
Secretary

SEAL

ISSUED:
